    Case: 3:16-cr-00101-jdp Document #: 129 Filed: 11/21/17 Page 1 of 1



                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF WISCONSIN

UNITED STATES OF AMERICA,

                    Plaintiff,                                   ORDER

             V.                                         Case No. 16-cr-101-jdp-4

STEVEN B. FALSTAD,

                    Defendant.




     The defendant in the above-entitled case has been:

                    convicted of the charge against him and no appeal is pending.
                    Therefore, it is directed that the passport be transferred to the U.S.
                    State Department.

                    The State Department is not to reissue a passport without approval
                    of U.S. Probation while the defendant remains on supervision.

                    convicted of the charge against him and no appeal is pending.
                    Therefore, it is directed that the passport be transferred to the ICE
                    Regional Office in Milwaukee, Wisconsin.

         X          acquitted of the charge against him and/or the charge against him
                    has been dismissed. Therefore, it is directed that the passport be
                    returned to the defendant or his authorized representative.

                    Defendant is deceased. Therefore, it is directed that the passport
                    be returned to the State Department.


      Signed this   --1.!:t..flaay of November, 2017.

                                         BYTHECOURA


                                         STEPH~OCKER
                                         Magistrate Judge
